201 F.2d 369
    NATIONAL LABOR RELATIONS BOARD, Petitioner,v.KLEIN MANUFACTURING COMPANY.
    No. 14749.
    United States Court of Appeals Eighth Circuit.
    December 23, 1952.
    
      Petition for Enforcement of Order of National Labor Relations Board.
      David P. Findling, Associate Gen. Counsel, National Labor Relations Board and A. Norman Somers, Asst. Gen. Counsel, National Labor Relations Board, Washington, D. C., for petitioner.
      Dunbar &amp; Curby, St. Louis, Mo., for respondent.
      PER CURIAM.
    
    
      1
      Order of National Labor Relations Board enforced, on petition for enforcement, and stipulation filed with Board.
    
    